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                     EXHIBIT 4
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                        In the United States District Court
                         for the Southern District of Ohio
                           Western Division at Cincinnati


Robert Mullen and Steven Howard,

       On behalf of themselves and those        Case No. 1:20-cv-893
       similarly situated,

              Plaintiffs,                       Judge Matthew W. McFarland

       v.

Chaac Pizza Midwest, LLC; Luis                  Jury Demand Endorsed Hereon
Ibarguengoytia; Doe Corporation 1-10; John
Doe 1-10;

              Defendants.


            First Amended Class and Collective Action Complaint



       1.     Robert Mullen and Steven Howard, on behalf of themselves and similarly-situated

individuals, bring this action against Defendants Chaac Pizza Midwest, LLC; Luis

Ibarguengoytia; Doe Corporation 1-10; and John Doe 1-10 (“Defendants”). Plaintiffs seek

appropriate monetary, declaratory, and equitable relief based on Defendants’ willful failure to

compensate Plaintiffs and similarly-situated individuals with minimum wages as required by the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., the Ohio Constitution, Article II,

Section 34a (“Section 34a”), the Ohio Minimum Wage Fairness Act (“OMFWSA”), O.R.C.

4111.01, et seq., O.R.C. § 4113.15 (Ohio’s “Prompt Pay Act”), O.R.C. § 2307.60, Kentucky

wage and hour law, and for unjust enrichment.
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        2.          Defendants operate 32 Pizza Hut stores locations in Ohio, Kentucky, and Indiana

(“Defendants’ Pizza Hut stores”).

        3.          Plaintiffs seek to represent the delivery drivers who have worked at the

Defendants’ Pizza Hut stores.

        4.          Defendants repeatedly and willfully violated the Fair Labor Standards Act,

Section 34a, Kentucky wage and hour law, and the Ohio Prompt Pay Act by failing to adequately

reimburse delivery drivers for their delivery-related expenses, thereby failing to pay delivery

drivers the legally mandated minimum wages for all hours worked.

        5.          All delivery drivers at the Defendants’ Pizza Hut stores, including Plaintiffs, have

been subject to the same or similar employment policies and practices.

                                      Jurisdiction and Venue

        6.          Under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b), this Court has jurisdiction over

Plaintiffs’ FLSA claims.

        7.          Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiffs’

Ohio and Kentucky law claims.

        8.          Venue in this Court is proper under 28 U.S.C. § 1391(b) because Defendants

reside in this district, and a substantial part of the events giving rise to the claim herein occurred

in this district.

                                                 Parties

Plaintiffs

Robert Mullen

        9.          Plaintiff Robert Mullen is a resident of Indiana.

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          10.   Plaintiff Mullen is/was an “employee” of the Defendants as defined in the FLSA,

Section 34a, and the Ohio Prompt Pay Act.

          11.   Plaintiff Mullen has given written consent to join this action.

Steven Howard

          12.   Plaintiff Steven Howard is a resident of Ohio.

          13.   Plaintiff Howard is/was an “employee” of all of the Defendants as defined in the

FLSA and Kentucky wage law.

          14.   Plaintiff Howard has given written consent to join this action.

Defendants

Chaac Pizza Midwest, LLC

          15.   Defendant Chaac Pizza Midwest, LLC is a foreign limited liability company

authorized to do business under the laws of Ohio and Kentucky.

          16.   Chaac Pizza Midwest, LLC is the entity that operates the Defendants’ Pizza Hut

stores.

          17.   Upon information and belief, Chaac Pizza Midwest, LLC owns thirty-two Pizza

Hut stores in Ohio, Kentucky, and Indiana.

          18.   Chaac Pizza Midwest, LLC is the entity that appears on Plaintiffs’ paystubs for

work they complete for Defendants’ Pizza Hut stores.

          19.   Chaac Pizza Midwest, LLC has substantial control over Plaintiffs and similarly

situated employees’ working conditions, and over the unlawful policies and practices alleged

herein.




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       20.     Chaac Pizza Midwest, LLC has direct or indirect control of the terms and

conditions of Plaintiffs’ work and the work of similarly situated employees.

       21.     At all relevant times, Chaac Pizza Midwest, LLC maintained control, oversight,

and direction over Plaintiffs and similarly situated employees, including, but not limited to,

hiring, firing, disciplining, timekeeping, payroll, reimbursements, pay rates, deductions, and

other practices.

       22.     Chaac Pizza Midwest, LLC is an “employer” of Plaintiffs and similarly situated

employees as that term is defined by the FLSA, the OMFWSA, Section 34a, the Ohio Prompt

Pay Act, and Kentucky wage law.

       23.     At all relevant times, Chaac Pizza Midwest, LLC has been and continues to be an

enterprise engaged in “the production of goods for commerce” within the meaning of the phrase

as used in the FLSA.

       24.     Chaac Pizza Midwest, LLC’s gross revenue exceeds $500,000 per year.

Luis Ibarguengoytia

       25.     Defendant Luis Ibarguengoytia is the owner of Chaac Pizza Midwest, LLC and the

Defendants’ Pizza Hut stores.

       26.     Luis Ibarguengoytia is the President of Chaac Pizza Midwest, LLC

       27.     Luis Ibarguengoytia is the owner of the Chaac Pizza Midwest, LLC

       28.     Luis Ibarguengoytia operates Thirty-Two Pizza Hut stores in Ohio, Kentucky,

and Indiana.

       29.     Luis Ibarguengoytia is individually liable to the delivery drivers at the Defendants’

Pizza Hut stores under the definitions of “employer” set forth in the FLSA, OMFWSA, Section


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34a, and Kentucky wage law because he owns and operates the Defendants’ Pizza Hut stores,

serves as a president and owner of Chaac Pizza Midwest, LLC, ultimately controls significant

aspects of the Defendants’ Pizza Hut stores’ day-to-day functions, and ultimately controls

compensation and reimbursement of employees. 29 U.S.C. § 203(d).

       30.     Luis Ibarguengoytia is the franchisee of the Defendants’ Pizza Hut stores.

       31.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had financial control over the operations

at each of the Defendants’ Pizza Hut stores.

       32.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has a role in significant aspects of the

Defendants’ Pizza Hut stores’ day to day operations.

       33.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had control over the Defendants’ Pizza

Hut stores’ pay policies.

       34.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had power over personnel and payroll

decisions at the Defendants’ Pizza Hut stores, including but not limited to influence of delivery

driver pay.

       35.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had the power to hire, fire and discipline

employees, including delivery drivers at the Defendants’ Pizza Hut stores.




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        36.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had the power to stop any illegal pay

practices that harmed delivery drivers at the Defendants’ Pizza Hut stores.

        37.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had the power to transfer the assets and

liabilities of the Defendant entities.

        38.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had the power to declare bankruptcy on

behalf of the Defendant entities.

        39.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had the power to enter into contracts on

behalf of each of the Defendants’ Pizza Hut stores.

        40.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia has had the power to close, shut down, and/or

sell each of the Defendants’ Pizza Hut stores.

        41.     At all relevant times, by virtue of his role as owner and president of the

Defendants’ Pizza Hut stores, Luis Ibarguengoytia had authority over the overall direction of

each of Defendants’ Pizza Hut stores and was ultimately responsible for their operations.

        42.     The Defendants’ Pizza Hut stores function for Luis Ibarguengoytia’s profit.

        43.     Luis Ibarguengoytia has influence over how the Defendants’ Pizza Hut stores can

run more profitably and efficiently.

Doe Corporation 1-10


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       44.     Upon information and belief, Defendants own, operate, and control other entities

and/or limited liability companies that also comprise part of the Defendants’ Pizza Hut stores,

and qualify as “employers” of Plaintiffs and the delivery drivers at the Defendants’ Pizza Hut

stores as that term is defined by the FLSA, Ohio wage law, and Kentucky wage law.

       45.     Upon information and belief, Luis Ibarguengoytia owns and/or operates, in whole

or in part, a number of other entities that make up part of the Defendants’ Pizza Hut stores

operation.

       46.     Upon information and belief, the franchisor, Pizza Hut stores Pizza, may also be

liable as an employer of the delivery drivers employed at Defendants’ Pizza Hut stores.

       47.     The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.

John Doe 1-10

       48.     Upon information and belief, there are additional individuals who also qualify as

“employers” of Plaintiffs and the delivery drivers at the Defendants’ Pizza Hut stores as that

term is defined by the FLSA, Ohio wage law, and Kentucky wage law.

       49.     Upon information and belief, Luis Ibarguengoytia has entered into co-owner

relationships with a number of his managers and business partners, and those individuals might

also qualify as “employers” of Plaintiffs and the delivery drivers at the Defendants’ Pizza Hut

stores as that term is defined by the FLSA, Ohio wage law, and Kentucky Wage law.

       50.     The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.




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                                              Facts

                                 Class-wide Factual Allegations

          51.   During all relevant times, Defendants have operated the Defendants’ Pizza Hut

stores.

          52.   Plaintiffs, and the similarly situated persons Plaintiffs seek to represent, are

current and former delivery drivers at the Defendants’ Pizza Hut stores.

          53.   All delivery drivers employed at the Defendants’ Pizza Hut stores over the last

three years have had essentially the same job duties.

          54.   When there are no deliveries to make, Defendants’ delivery drivers are required

to work inside the Defendants’ Pizza Hut stores cleaning up dishes, sweeping, making boxes,

filling the ice container, and completing other duties inside the restaurant as necessary.

          55.   Plaintiffs and similarly situated delivery drivers have been paid minimum wage

minus a tip credit for the hours they worked for Defendants’ Pizza Hut stores.

          56.   The job duties performed by delivery drivers inside the store are not related to

their tip-producing duties while they are out on the road making deliveries.

          57.   Delivery drivers do not complete their inside job duties contemporaneously with

their delivery job duties.

          58.   The delivery drivers at the Defendants’ Pizza Hut stores work “dual jobs.”

          59.   Defendants require delivery drivers at Defendants’ Pizza Hut stores to provide

cars to use while completing deliveries for Defendants.


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          60.   Defendants require delivery drivers to maintain and pay for operable, safe, and

legally compliant automobiles to use in delivering Defendants’ pizza and other food items.

          61.   Defendants require delivery drivers to incur and/or pay job-related expenses,

including but not limited to automobile costs and depreciation, gasoline expenses, automobile

maintenance and parts, insurance, financing charges, licensing and registration costs, cell phone

costs, GPS charges, and other equipment necessary for delivery drivers to complete their job

duties.

          62.   Pursuant to such requirements, Plaintiffs and other similarly situated employees

purchase gasoline, vehicle parts and fluids, automobile repair and maintenance services,

automobile insurance, suffered automobile depreciation and damage, financing, licensing, and

registration charges, and incur cell phone and data charges all for the primary benefit of

Defendants.

          63.   The Defendants’ Pizza Hut stores reimburse their delivery drivers based on cents

per mile driven.

          64.   Defendants’ reimbursement payments had no connection to the actual expenses

incurred by the delivery drivers.

          65.   The Defendants’ Pizza Hut stores do not track or record the delivery drivers’

actual expenses.

          66.   The Defendants’ Pizza Hut stores do not collect receipts from their delivery

drivers related to the expenses they incur while completing deliveries.

          67.   The Defendants’ Pizza Hut stores do not reimburse their delivery drivers based

on the actual expenses the delivery drivers incur.


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       68.     The Defendants’ Pizza Hut stores do not reimburse their delivery drivers for the

actual expenses delivery drivers incur.

       69.     The Defendants’ Pizza Hut stores do not reimburse their delivery drivers at the

IRS standard business mileage rate.

       70.     The Defendants’ Pizza Hut stores did not reasonably approximate the delivery

drivers’ expenses.

       71.     Plaintiffs and similarly situated delivery drivers typically average 3-7 miles per

round-trip delivery or more.

       72.     The Defendants’ Pizza Hut stores’ reimbursement payments result in

reimbursements that are less than the IRS standard business mileage rate for each mile driven.

       73.     According to the Internal Revenue Service, the standard mileage rate for the use

of a car during the relevant time periods have been:

               a.     2020: 57.5 cents/mile
               b.     2021: 56 cents/mile

       74.     The delivery drivers at the Defendants’ Pizza Hut stores have incurred even more

in expenses than those contemplated by the IRS standard business mileage rate—e.g., cell phone

and data charges.

       75.     As a result of the automobile and other job-related expenses incurred by Plaintiffs

and other similarly situated delivery drivers, they were deprived of minimum wages guaranteed

to them by the FLSA, Ohio law, and Kentucky law.

       76.     Defendants have applied the same or similar pay policies, practices, and

procedures to all delivery drivers at the Defendants’ Pizza Hut stores.



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          77.   Because Defendants paid their drivers a gross hourly wage at precisely, or at least

very close to, the applicable minimum wage, and because the delivery drivers incurred

unreimbursed automobile expenses, the delivery drivers “kicked back” to Defendants an amount

sufficient to cause minimum wage violations. See 29 C.F.R. § 531.35.

          78.   Defendants have failed to properly take a tip credit from Plaintiffs’ wages and the

wages of similarly situated employees because, after accounting for unreimbursed expenses,

Defendants have paid delivery drivers a lower wage rate than they informed the delivery drivers

they would be paid.

          79.   Defendants have also failed to properly inform Plaintiffs and similarly situated

delivery drivers of the requirements for taking a tip credit. 29 C.F.R.§ 531.59.

          80.   Defendants have willfully failed to pay federal, Ohio, and Kentucky state

minimum wage to Plaintiffs and similarly situated delivery drivers at the Defendants’ Pizza Hut

stores.

                            Plaintiffs’ Individual Factual Allegations

          81.   Plaintiff Mullen has worked at the Pizza Hut store located in Harrison, Ohio since

approximately 2016.

          82.   Plaintiff Howard has worked at the Pizza Hut store located in Erlanger, Kentucky

since July 2019.

          83.   Plaintiffs are paid minimum wage minus a tip credit for all hours worked while

delivering.




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       84.     When Plaintiffs are not delivering food, they work inside the restaurant. Their

work inside the restaurant includes stocking, doing dishes, cleaning, and completing other duties

inside the restaurant as necessary.

       85.     Plaintiffs work dual jobs.

       86.     Plaintiffs’ inside duties are not related to their delivery duties.

       87.     Plaintiffs are paid minimum wage for the hours they work inside the store.

       88.     Plaintiffs are required to use their own cars to deliver pizzas.

       89.     During his employment, Plaintiff Mullen has been reimbursed between $.25 per

mile and $.30 per mile.

       90.     Plaintiff Howard was reimbursed between $.28 per mile and $.33 per mile.

       91.     Defendants’ reimbursement policy results in Plaintiffs usually receiving between

$.25 and $.35 per mile, on average.

       92.     Plaintiffs are required to maintain and pay for operable, safe, and legally compliant

automobiles to use in delivering Defendants’ pizza and other food items.

       93.     Plaintiffs are required to incur and/or pay job-related expenses, including but not

limited to automobile costs and depreciation, gasoline expenses, automobile maintenance and

parts, insurance, cell phone service, GPS service, automobile financing, licensing and registration

costs, and other equipment necessary for delivery drivers to complete their job duties.

       94.     Plaintiffs have purchased gasoline, vehicle parts and fluids, automobile repair and

maintenance services, automobile insurance, suffered automobile depreciation and damage,

automobile financing, licensing and registration costs, and incur cell phone and data charges all

for the primary benefit of Defendants.


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       95.        Defendants does not track the actual expenses incurred by Plaintiffs.

       96.        Defendants do not ask Plaintiffs to provide receipts of the expenses they incur

while delivering pizzas for Defendants.

       97.        Defendants do not reimburse Plaintiffs based on their actual delivery-related

expenses.

       98.        Plaintiffs are not reimbursed at the IRS standard mileage rate for the miles they

drive while completing deliveries.

       99.        Defendants do not reimburse Plaintiffs based on a reasonable approximation of

their expenses.

       100.       In 2020, for example, the IRS business mileage reimbursement has been $.575 per

mile, which reasonably approximated the automobile expenses incurred delivering pizzas.

http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. At the IRS standard business

mileage reimbursement rate, Defendants’ policy under-reimbursed Plaintiff Mullen by $.275 per

mile ($.575 - $.30). Consider Plaintiff Mullen’s estimate of 3 miles per delivery, Defendants

under-reimbursed him $.825 per delivery ($.275 x 3 miles), and $1.24 per hour (1.5 deliveries

per hour).

       101.       In 2020, for example, the IRS business mileage reimbursement has been $.575 per

mile, which reasonably approximated the automobile expenses incurred delivering pizzas.

http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. At the IRS standard business

mileage reimbursement rate, Defendants’ policy under-reimbursed Plaintiff Howard by $.295 per

mile ($.575 - $.28). Consider Plaintiff Howard’s estimate of 7 miles per delivery, Defendants

under-reimbursed him $.825 per delivery ($.295 x 7 miles), and $2.065 per hour.


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          102.   In 2019, the minimum wage in Ohio was $8.55 per hour for non-tipped

employees.

          103.   The Ohio minimum wage was increased to $8.70 per hour in 2020.

          104.   Despite this change, Defendants only paid Plaintiff Mullen $8.55 per hour in

2020.

          105.   Defendants failed to properly inform Plaintiffs of the requirements for taking a tip

credit.

          106.   Defendants have failed to properly take a tip credit from Plaintiffs’ wages because,

after accounting for unreimbursed expenses, Defendants have taken more of a tip credit than

they informed Plaintiffs they would be taking.

          107.   Defendants have failed to pay Plaintiffs minimum wage as required by law.

                             Collective Action Allegations

          108.   Plaintiffs brings the First Count on behalf of themselves and all similarly situated

current and former delivery drivers employed at the Defendants’ Pizza Hut stores owned,

operated, and controlled by Defendants nationwide, during the three years prior to the filing of

this Class Action Complaint and the date of final judgment in this matter, who elect to opt-in to

this action (the “FLSA Collective”).

          109.   At all relevant times, Plaintiffs and the FLSA Collective have been similarly

situated, have had substantially similar job duties, requirements, and pay provisions, and have all

been subject to Defendants’ decision, policy, plan, practices, procedures, protocols, and rules of

willfully refusing to pay Plaintiffs and the FLSA Collective minimum wage for all hours worked




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and failing to reimburse delivery drivers for automobile expenses and other job-related expenses.

Plaintiffs’ claims are essentially the same as those of the FLSA Collective.

          110.   Defendants’ unlawful conduct is pursuant to a company policy or practice.

          111.   Defendants are aware or should have been aware that federal law required them to

pay employees minimum wage for all hours worked and to fully reimburse for “tools of the

trade.”

          112.   Defendants are aware or should have been aware that they are not permitted to

pay employees a tipped wage rate for hours worked in a non-tipped capacity.

          113.   Defendants are aware or should have been aware that they were obligated to

actually pay the tipped wage rate that they informed Plaintiffs and other delivery drivers that they

would pay.

          114.   Defendants are aware or should have been aware that federal law requires them to

meet certain requirements for taking a tip credit from the wages of their employees.

          115.   Defendants’ unlawful conduct has been widespread, repeated, and consistent.

          116.   The First Count is properly brought under and maintained as an opt-in collective

action under 29 U.S.C. § 216(b).

          117.   The FLSA Collective members are readily identifiable and ascertainable.

          118.   In recognition of the services Plaintiffs have rendered and will continue to render

to the FLSA Collective, Plaintiffs will request payment of service awards upon resolution of this

action.

                                Ohio Class Action Allegations




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       119.    Plaintiff Mullen brings the Second, Fourth, Sixth, and Seventh Counts under

Federal Rule of Civil Procedure 23, on behalf of himself and a class of persons consisting of:

       All current and former delivery drivers employed by Defendants at the
       Defendants’ Pizza Hut stores in the State of Ohio between the date three years
       prior to the filing of the original complaint and the date of final judgment in this
       matter (“Rule 23 Class”).

       120.    Excluded from the Rule 23 Class are Defendants’ legal representatives, officers,

directors, assigns, and successors, or any individual who has, or who at any time during the class

period has had, a controlling interest in Defendants; the Judge(s) to whom this case is assigned

and any member of the Judges’ immediate family; and all persons who will submit timely and

otherwise proper requests for exclusion from the Rule 23 Class.

       121.    The number and identity of the Rule 23 Class members are ascertainable from

Defendants’ records.

       122.    The hours assigned and worked, the positions held, deliveries completed, and the

rates of pay and reimbursements paid for each Rule 23 Class Member are determinable from

Defendants’ records.

       123.    All of the records relevant to the claims of Rule 23 Class Members should be

found in Defendants’ records.

       124.    For the purpose of notice and other purposes related to this action, their names

and contact information are readily available from Defendants.

       125.    Notice can be provided by means permissible under Rule 23.

       126.    The Rule 23 Class member are so numerous that joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

       127.    There are more than 50 Rule 23 Class members.
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       128.    Plaintiff Mullen’s claims are typical of those claims which could be alleged by any

Rule 23 Class member, and the relief sought is typical of the relief which would be sought by each

Rule 23 Class member in separate actions.

       129.    Plaintiff Mullen and the Ohio Rule 23 Class members have all sustained similar

types of damages as a result of Defendants’ failure to comply with Section 34a, and O.R.C. §

4113.15.

       130.    Plaintiff Mullen and the Ohio Rule 23 Class members sustained similar losses,

injuries, and damages arising from the same unlawful practices, polices, and procedures.

       131.    Plaintiff Mullen is able to fairly and adequately protect the interests of the Rule 23

Class and has no interests antagonistic to the Rule 23 Class.

       132.    Plaintiff Mullen is represented by attorneys who are experienced and competent

in both class action litigation and employment litigation.

       133.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of wage and hour litigation on behalf

of minimum wage employees where individual class members lack the financial resources to

vigorously prosecute a lawsuit against corporate defendants. Class action treatment will permit a

large number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of efforts and expense that

numerous individual actions engender.

       134.    This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23(b)(3).




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       135.    Common questions of law and fact exist as to the Rule 23 Class that predominate

over any questions only affecting Plaintiff Mullen and the Ohio Rule 23 Class members

individually and include, but are not limited to:

           a. Whether Plaintiff Mullen and the Ohio Rule 23 Class members were subject to a
              common expense reimbursement policy that resulted in wages to drop below
              legally allowable minimum wage;

           b. Whether Plaintiff Mullen and the Ohio Rule 23 Class were subject to a policy that
              required them to maintain and pay for safe, operable, and legally compliant
              automobiles to use in completing deliveries;

           c. Whether Plaintiff Mullen and the Ohio Rule 23 Class incurred expenses for the
              benefit of Defendants in the course of completing deliveries;

           d. Whether Defendants reimbursed Plaintiff Mullen and the Ohio Rule 23 Class
              members for their actual expenses;

           e. Whether Defendants reimbursed Plaintiff Mullen and the Ohio Rule 23 Class
              members at the IRS standard business mileage rate for the miles they drove in
              making deliveries;

           f. Whether Defendants reimbursed Plaintiff Mullen and the Ohio Rule 23 Class
              members based on a reasonable approximation of the expenses they incurred;

           g. Whether Defendants properly reimbursed Plaintiff Mullen and the Ohio Rule 23
              Class members;

           h. Whether Plaintiff Mullen and the Ohio Rule 23 Class were paid the proper Ohio
              minimum wage in 2020 and throughout the relevant time period;

           i. Whether Plaintiff Mullen and the Ohio Rule 23 Class were properly informed of
              the requirements for taking a tip credit;

           j. Whether Plaintiff Mullen and the Ohio Rule 23 Class were actually paid the wage
              rate they were promised by Defendants;


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            k. Whether Plaintiff Mullen and the Ohio Rule 23 Class conferred a benefit on
               Defendants that Defendants were aware of and accepted, and whether it would be
               unjust for Defendants to retain that benefit without compensating for it;

            l. Whether Defendants failed to pay Plaintiff Mullen and the Ohio Rule 23 Class in a
               timely manner as described by O.R.C. § 4113.15, and, if so, whether the wages
               owed are “in dispute”; and

            m. The nature and extent of class-wide injury and the measure of damages for those
               injuries.

        136.    In recognition of the services Plaintiff Mullen has rendered and will continue to

render to the Rule 23 Class, Plaintiff Mullen will request payment of a service award upon

resolution of this action.

                             Kentucky Class Action Allegations

        137.    Plaintiff Howard brings the Third, Fifth, and Eighth Counts under Federal Rule of

Civil Procedure 23, on behalf of himself and a class of persons consisting of:

        All current and former delivery drivers employed by Defendants at the
        Defendants’ Pizza Hut stores in the State of Kentucky between the date five years
        prior to the filing of the Amended complaint and the date of final judgment in this
        matter (“Rule 23 Class”).

        138.    Excluded from the Rule 23 Class are Defendants’ legal representatives, officers,

directors, assigns, and successors, or any individual who has, or who at any time during the class

period has had, a controlling interest in Defendants; the Judge(s) to whom this case is assigned

and any member of the Judges’ immediate family; and all persons who will submit timely and

otherwise proper requests for exclusion from the Rule 23 Class.

        139.    The number and identity of the Rule 23 Class members are ascertainable from

Defendants’ records.

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       140.    The hours assigned and worked, the positions held, deliveries completed, and the

rates of pay and reimbursements paid for each Rule 23 Class Member are determinable from

Defendants’ records.

       141.    All of the records relevant to the claims of Rule 23 Class Members should be

found in Defendants’ records.

       142.    For the purpose of notice and other purposes related to this action, their names

and contact information are readily available from Defendants.

       143.    Notice can be provided by means permissible under Rule 23.

       144.    The Rule 23 Class member are so numerous that joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

       145.    There are more than 50 Rule 23 Class members.

       146.    Plaintiff Howard’s claims are typical of those claims which could be alleged by any

Rule 23 Class member, and the relief sought is typical of the relief which would be sought by each

Rule 23 Class member in separate actions.

       147.    Plaintiff Howard and the Kentucky Rule 23 Class members have all sustained

similar types of damages as a result of Defendants’ failure to comply with Kentucky wage law.

       148.    Plaintiff Howard and the Kentucky Rule 23 Class members sustained similar

losses, injuries, and damages arising from the same unlawful practices, polices, and procedures.

       149.    Plaintiff Howard is able to fairly and adequately protect the interests of the Rule

23 Class and has no interests antagonistic to the Rule 23 Class.

       150.    Plaintiff Howard is represented by attorneys who are experienced and competent

in both class action litigation and employment litigation.


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       151.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of wage and hour litigation on behalf

of minimum wage employees where individual class members lack the financial resources to

vigorously prosecute a lawsuit against corporate defendants. Class action treatment will permit a

large number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of efforts and expense that

numerous individual actions engender.

       152.    This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23(b)(3).

       153.    Common questions of law and fact exist as to the Rule 23 Class that predominate

over any questions only affecting Plaintiff Howard and the Kentucky Rule 23 Class members

individually and include, but are not limited to:

           n. Whether Plaintiff Howard and the Kentucky Rule 23 Class members were subject
              to a common expense reimbursement policy that resulted in wages to drop below
              legally allowable minimum wage;

           o. Whether Plaintiff Howard and the Kentucky Rule 23 Class were subject to a
              policy that required them to maintain and pay for safe, operable, and legally
              compliant automobiles to use in completing deliveries;

           p. Whether Plaintiff Howard and the Kentucky Rule 23 Class incurred expenses for
              the benefit of Defendants in the course of completing deliveries;

           q. Whether Defendants reimbursed Plaintiff Howard and the Kentucky Rule 23
              Class members for their actual expenses;

           r. Whether Defendants reimbursed Plaintiff Howard and the Kentucky Rule 23
              Class members at the IRS standard business mileage rate for the miles they drove
              in making deliveries;

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             s. Whether Defendants reimbursed Plaintiff Howard and the Kentucky Rule 23
                Class members based on a reasonable approximation of the expenses they
                incurred;

             t. Whether Defendants properly reimbursed Plaintiff Howard and the Kentucky
                Rule 23 Class members;

             u. Whether Plaintiff Howard and the Kentucky Rule 23 Class were properly
                informed of the requirements for taking a tip credit;

             v. Whether Plaintiff Howard and the Kentucky Rule 23 Class were actually paid the
                wage rate they were promised by Defendants;

             w. Whether Plaintiff Howard and the Kentucky Rule 23 Class conferred a benefit on
                Defendants that Defendants were aware of and accepted, and whether it would be
                unjust for Defendants to retain that benefit without compensating for it;

             x. Whether Defendants failed to pay Plaintiff Howard and the Kentucky Rule 23
                Class their earned wages in a timely manner; and

             y. The nature and extent of class-wide injury and the measure of damages for those
                injuries.

          154.   In recognition of the services Plaintiff Howard has rendered and will continue to

render to the Rule 23 Class, Plaintiff Howard will request payment of a service award upon

resolution of this action.

                                      Causes of Action

                                             Count 1
                   Failure to Pay Minimum Wages - Fair Labor Standards Act
                        (On Behalf of Plaintiffs and the FLSA Collective)

          155.   Plaintiffs restate and incorporates the foregoing allegations as if fully rewritten

herein.



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       156.     Plaintiffs and the FLSA Collective are or were non-exempt, hourly employees

entitled to receive no less than minimum wage for all hours worked.

       157.     Defendants failed to properly claim a tip credit from the wages of Plaintiffs and

the FLSA collective because Plaintiffs and the FLSA collective were paid a wage rate lower than

Defendants informed them that they would be paid.

       158.     Defendants paid Plaintiffs and the FLSA Collective at or close to minimum wage

for all hours worked.

       159.     Defendants required and continue to require Plaintiffs and the FLSA Collective to

pay for automobile expenses and other job-related expenses out of pocket and failed to properly

reimburse Plaintiffs and the FLSA Collective for said expenses.

       160.     Defendants required and continue to require Plaintiffs and the FLSA Collective to

work in a non-tipped capacity while being paid a tipped wage rate.

       161.     By the acts and conduct described above, Defendants willfully violated the

provisions of the FLSA and disregarded the rights of Plaintiffs and the FLSA Collective.

       162.     Plaintiffs and the FLSA Collective have been damaged by Defendants’ willful

failure to pay minimum wage as required by law.

       163.     As a result of Defendants’ willful violations, Plaintiffs and the FLSA Collective

are entitled to damages, including, but not limited to, unpaid wages, unreimbursed expenses,

liquidated damages, costs, and attorneys’ fees.

                                            Count 2
              Failure to Pay Minimum Wages - Ohio Constitution, Article II, § 34a
                   (On Behalf of Plaintiff Mullen and the Ohio Rule 23 Class)




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       164.    Plaintiff Mullen restates and incorporates the foregoing allegations as if fully

rewritten herein.

       165.    Defendants paid Plaintiff Mullen and the Ohio Rule 23 Class below minimum

wage for the hours they worked by requiring them to cover automobile expenses and other job-

related expenses.

       166.    Defendants paid Plaintiff Mullen and the Ohio Rule 23 Class a wage rate below

minimum wage for at least every hour they worked in 2020.

       167.    Defendants paid Plaintiff Mullen and the Ohio Rule 23 Class a tipped wage rate

for non-tipped duties unrelated to their tipped duties.

       168.    Defendants ostensibly paid Plaintiff Mullen and the Ohio Rule 23 Class at or close

to minimum wage for the hours they worked.

       169.    Because Defendants required Plaintiff Mullen and the Ohio Rule 23 Class to pay

for automobile expenses and other job-related expenses out of pocket, Defendants failed pay

Plaintiff Mullen and the Ohio Rule 23 Class minimum wage.

       170.    By not paying Plaintiff Mullen and the Ohio Rule 23 Class at least minimum wage

for each hour worked, Defendants has violated the Ohio Constitution, Article II, § 34a.

       171.    As a result of Defendants’ violations, Plaintiff Mullen and the Ohio Rule 23 Class

are entitled to damages, including, but not limited to, unpaid wages, unreimbursed expenses, an

additional two times unpaid wages/unreimbursed expenses in damages under Section 34a, costs,

and attorneys’ fees.

                                         Count 3
                    Failure to Pay Minimum Wages - K.R.S. § 337.275
              (On Behalf of Plaintiff Howard and the Kentucky Rule 23 Class)


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       172.    Plaintiff Howard restates and incorporates the foregoing allegations as if fully

rewritten herein.

       173.    By failing to pay Plaintiff Howard and the Kentucky Rule 23 Class minimum wage

for all hours worked, Defendants have violated K.R.S. § 337.275.

       174.    As a result of Defendants’ willful failure to pay Plaintiff Howard and the Kentucky

Rule 23 Class minimum wage, Plaintiff Howard and the Kentucky Rule 23 Class are entitled to

unpaid minimum wages, liquidated damages in the amount of unpaid minimum wages,

reasonable attorneys’ fees, and costs. K.R.S. § 337.385

                                             Count 4
                        Untimely Payment of Wages – O.R.C. § 4113.15
                    (On Behalf of Plaintiff Mullen and the Ohio Rule 23 Class)

       175.    Plaintiff Mullen restates and incorporates the foregoing allegations as if fully

rewritten herein.

       176.    During all relevant times, Defendants were covered by O.R.C. § 4113.15, and

Plaintiff Mullen and the Ohio Rule 23 Class were employees within the meaning of O.R.C. §

4113.15 and were not exempt from its protections.

       177.    O.R.C. § 4113.15(A) requires that Defendants pay Plaintiff Mullen and the Ohio

Rule 23 Class all wages on or before the first day of each month, for wages earned during the first

half of the preceding month ending with the fifteenth day thereof, and on or before the fifteenth

day of each month, for wages earned during the last half of the preceding calendar month.

       178.    By failing to pay Plaintiff Mullen and the Ohio Rule 23 Class all wages due to them

under the FLSA and Ohio Constitution, Defendants have also violated the Ohio Prompt Pay Act.




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       179.    Plaintiff Mullen and the Ohio Rule 23 Class’s unpaid wages and unreimbursed

expenses have remained unpaid for more than thirty (30) days beyond their regularly scheduled

payday.

       180.    Plaintiff Mullen and the Rule 23 Class’s entitlement to the wages sought herein is

and has been undisputed.

       181.    In violating Ohio law, Defendants acted willfully, without a good faith basis and

with reckless disregard to Ohio law.

       182.    As a result of Defendants’ willful violation, Plaintiff Mullen and the Ohio Rule 23

Class are entitled to unpaid wages and liquidated damages, as stated in O.R.C. § 4113.15.

                                         Count 5
                  Failure to Pay Agreed Upon Wages – K.R.S. § 337.060
              (On Behalf of Plaintiff Howard and the Kentucky Rule 23 Class)


       183.    Plaintiff Howard restates and incorporates the foregoing allegations as if fully

rewritten herein.

       184.    Kentucky law, K.R.S. § 337.060, requires that Plaintiff Howard and the Kentucky

Rule 23 Class be paid all wages agreed upon between the employer and the employee.

       185.    By the acts described herein, Defendants have failed to pay all agreed upon wages

to Plaintiff Howard and the Kentucky Rule 23 Class.

       186.    As a result of Defendants’ willful failure to pay Plaintiff Howard and the Kentucky

Rule 23 Class agreed upon wages, Plaintiff Howard and the Kentucky Rule 23 Class are entitled

to unpaid wages, liquidated damages in the amount of unpaid wages, 10% of unpaid wages,

reasonable attorneys’ fees, and costs. K.R.S. § 337.385; K.R.S. 337.990

                                            Count 6

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                            Damages Pursuant to O.R.C. § 2307.60
                    (On Behalf of Plaintiff Mullen and the Ohio Rule 23 Class)

       187.    Plaintiff Mullen restates and incorporates the foregoing allegations as if fully

rewritten herein.

       188.    A willful violation of the FLSA is a criminal act. 29 U.S.C. § 216(a).

       189.    By their acts and omissions described herein, Defendants have willfully violated

the FLSA, and Plaintiff Mullen and the Ohio Rule 23 Class have been injured as a result.

       190.    O.R.C. § 2307.60 permits anyone injured in person or property by a criminal act

to recover damages in a civil action, including exemplary and punitive damages.

       191.    As a result of Defendants’ willful violations of the FLSA, Plaintiff Mullen and the

Ohio Rule 23 Class are entitled to compensatory and punitive damages pursuant to O.R.C. §

2307.60.

                                             Count 7
                                       Unjust Enrichment
                    (On Behalf of Plaintiff Mullen and the Ohio Rule 23 Class)

       192.    The delivery drivers at the Defendants’ Pizza Hut stores have conferred a benefit

on Defendants by using their own cars to work for Defendants.

       193.    Defendants are aware of and have accepted the benefit conferred on them by

delivery drivers.

       194.    It would be unjust for Defendants to be permitted to retain the benefit conferred

on them by the delivery drivers without commensurate compensation.

       195.    Plaintiff Mullen and the delivery drivers are entitled to equitable restitution of all

unreimbursed expenses.

                                             Count 8

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                                        Unjust Enrichment
                 (On Behalf of Plaintiff Howard and the Kentucky Rule 23 Class)


          196.   The delivery drivers at the Defendants’ Pizza Hut stores have conferred a benefit

on Defendants by using their own cars to work for Defendants.

          197.   Defendants are aware of and have accepted the benefit conferred on them by

delivery drivers.

          198.   It would be unjust for Defendants to be permitted to retain the benefit conferred

on them by the delivery drivers without commensurate compensation.

          199.   Plaintiff Howard and the delivery drivers are entitled to equitable restitution of all

unreimbursed expenses.

          WHEREFORE, Plaintiffs Robert Mullen and Steven Howard pray for all of the following

relief:

          A.     Designation of this action as a collective action on behalf of the collective action

members and prompt issuance of notice to all similarly-situated members of an opt-in class,

apprising them of this action, permitting them to assert timely wage and hour claims in this

action, and appointment of Plaintiffs and their counsel to represent the collective action

members.

          B.     Unpaid minimum wages, reimbursement of expenses, and an additional and equal

amount as liquidated damages pursuant to the FLSA and supporting regulations.

          C.     Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure.




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       D.       Designation of Plaintiff Mullen as representative of the Ohio Rule 23 Class and

counsel of record as Class Counsel.

       E.       Designation of Plaintiff Howard as representative of the Kentucky Rule 23 Class

and counsel or record as Class Counsel.

       F.       A declaratory judgment that the practices complained of herein are unlawful

under Section 34a, O.R.C. § 4113.15, and the OMFWSA.

       G.       A declaratory judgement that the practices complained of herein are unlawful

under Kentucky law.

       H.       An award of unpaid minimum wages and unreimbursed expenses due under

Section 34a, O.R.C. § 4113.15, and the OMFWA.

       I.       An award of unpaid minimum wages and unreimbursed expenses due under

Kentucky law.

       J.       An award of damages under Section 34a, based on Defendants’ failure to pay

wages, calculated as an additional two times of back wages.

       K.       An award of agreed upon wages due under K.R.S. § 337.060 and additional back

wages under K.R.S. § 337.385 and K.R.S. 337.990.

       L.       An award of restitution for unjust enrichment under Ohio law.

       M.       An award of restitution for unjust enrichment under Kentucky law.

       N.       Liquidated damages under O.R.C. § 4113.15.

       O.       Liquidated damages under and interest under Kentucky law.

       P.       Compensatory and punitive damages under O.R.C. § 2307.60.

       Q.       An award of prejudgment and post-judgment interest.


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       R.      An award of costs and expenses of this action, together with reasonable attorneys’

fees and expert fees.

       S.      Such other legal and equitable relief as the Court deems appropriate.

                                             Respectfully submitted,

                                             /s/ Nathan Spencer
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                                             Counsel for Plaintiffs and the putative class




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                                       JURY DEMAND

        Plaintiffs hereby demand a jury trial by the maximum persons permitted by law on all

issues herein triable to a jury.


                                             /s/ Nathan Spencer
                                             Nathan B. Spencer




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